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 GOODSILL ANDERSON QUINN & STIFEL
 A LIMITED LIABILITY LAW PARTNERSHIP LLP

 EDMUND K. SAFFERY                 5860-0
 esaffery@goodsill.com
 LAUREN K. CHUN                    10196-0
 lchun@goodsill.com
 First Hawaiian Center, Suite 1600
 999 Bishop Street
 Honolulu, Hawaii 96813
 Telephone: (808) 547-5600
 Facsimile: (808) 547-5880
 Attorneys for Defendants
 LOWE’S HOME CENTERS, LLC
 And TYSON SACKS

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 PAUL PETERS,                            CIVIL NO. CV 18-00083 RLP-NONE

                    Plaintiff,           DEFENDANT LOWE’S HOME
                                         CENTERS, LLC’S ANSWER TO
             vs.
                                         COMPLAINT FILED ON
                                         OCTOBER 24, 2017; CERTIFICATE
 LOWE’S HOME CENTERS, LLC, a             OF SERVICE
 North Carolina limited liability
 company; TYSON SACKS; JOHN
 DOES 1-10; JANE DOES 1-10; DOE
 CORPORATIONS 1-10; DOE
 PARTNERSHIPS 1-10; and DOE
 ENTITIES 1-10,

                    Defendants.




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             DEFENDANT LOWE’S HOME CENTERS, LLC’S
          ANSWER TO COMPLAINT FILED ON OCTOBER 24, 2017

              Defendant LOWE’S HOME CENTERS, LLC (“Lowe’s”), by and

 through its attorneys Goodsill Anderson Quinn & Stifel, A Limited Liability Law

 Partnership, answers the Complaint filed herein on October 24, 2017

 (“Complaint”) as follows:

              1.     In response to Paragraph 1 of the Complaint, Lowe’s states that

 it is without knowledge or information sufficient to form a belief as to the truth of

 the allegations contained in said Paragraph, and on that basis, denies the same.

              2.     Lowe’s admits the allegations contained in Paragraphs 2 and 3

 of the Complaint.

              3.     In response to Paragraph 4 of the Complaint, Lowe’s states

 upon information and belief that Tyson Sacks (“Sacks”) is an adult resident of

 Maui County, Hawaii.

              4.     In response to Paragraphs 5 and 6 of the Complaint, Lowe’s

 states that it is without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in said Paragraphs, and on that basis, denies

 the same.

                                 Jurisdiction/Venue

              5.     In response to Paragraph 7 of the Complaint, Lowe’s states that

 the allegations relating to “negligence,” “substantial factor”, causation, and



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 “damages . . . that exceed the jurisdictional minimums” all call for legal

 conclusions which require no response. To the extent a response is required,

 Lowe’s denies the allegations contained in said Paragraph 7.

              6.    In response to Paragraph 8 of the Complaint, Lowe’s states that

 the allegations in said Paragraph call for legal conclusions which require no

 response. To the extent a response is required, Lowe’s states that it is without

 knowledge or information sufficient to form a belief as to the truth of the

 allegations contained in said Paragraph, and on that basis, denies the same.

                     Allegations/Cause of Action – Negligence

              7.    In response to Paragraph 9 of the Complaint, Lowe’s states

 upon information and belief that Sacks was employed by Lowe’s as of November

 3, 2015. Lowe’s further states upon information and belief that Plaintiff was on

 the premises of the Lowe’s store located in Kahului, Hawaii on or about November

 3, 2015. Lowe’s further states that the allegation that Plaintiff was a “business

 invitee” of Lowe’s calls for a legal conclusion which requires no response. Except

 as so stated, Lowe’s states that it is without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations contained in Paragraph 9

 of the Complaint and on that basis, denies the same.




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              8.     In response to Paragraph 10 of the Complaint, Lowe’s states

 that it is without knowledge or information sufficient to form a belief as to the truth

 of the allegations contained in said Paragraph, and on that basis, denies the same.

              9.     In response to Paragraph 11 of the Complaint, and all of

 Paragraph 11’s subparagraphs, Lowe’s states that such Paragraph and

 subparagraphs call for legal conclusions which require no response. To the extent

 a response is required, Lowe’s states that it is without knowledge or information

 sufficient to form a belief as to the truth of the remaining allegations contained in

 Paragraph 11 of the Complaint and its subparagraphs and on that basis, denies the

 same.

              10.    In response to Paragraph 12 of the Complaint, Lowe’s states

 that said Paragraph calls for a legal conclusion which requires no response. To the

 extent a response is required, Lowe’s denies the allegations contained in said

 Paragraph.

              11.    In response to Paragraph 13 of the Complaint, and all of

 Paragraph 13’s subparagraphs, Lowe’s states that such Paragraph and

 subparagraphs call for legal conclusions which require no response. To the extent

 a response is required, Lowe’s states that it is without knowledge or information

 sufficient to form a belief as to the truth of the remaining allegations contained in




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 Paragraph 13 of the Complaint and its subparagraphs and on that basis, denies the

 same.

              12.   In response to Paragraph 14, 15, and 16 of the Complaint,

 Lowe’s states that said Paragraphs call for legal conclusions which require no

 response. To the extent a response is required, Lowe’s denies the allegations

 contained in said Paragraphs.

              13.   All prayers for relief are denied.

              14.   Any allegation not specifically admitted is denied.

                                     DEFENSES

              Lowe’s asserts the following defenses without assuming the burden of

 proof on such defenses that would otherwise rest of Plaintiff.

                                  FIRST DEFENSE

              15.   The Complaint, and each cause of action therein, fails to state a

 claim upon which relief can be granted.

                                 SECOND DEFENSE

              16.   Lowe’s intends to rely on the defenses of lack of jurisdiction,

 insufficiency of process, or insufficiency of service of process.

                                 THIRD DEFENSE




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              17.   Plaintiff’s claims are barred under the doctrines of waiver,

 estoppel, unclean hands, laches and other affirmative defenses which may be

 uncovered through discovery or trial.

                                FOURTH DEFENSE

              18.   Lowe’s did not breach any legal duty owed to Plaintiff.

                                  FIFTH DEFENSE

              19.   Plaintiff’s claims are barred because the conduct of Lowe’s was

 not a proximate cause of the alleged injuries or damages.

                                  SIXTH DEFENSE

              20.   Plaintiff’s injuries or damages, if any, were caused, in whole or

 in part, by the negligence of, or wrongful conduct of Plaintiff.

                                SEVENTH DEFENSE

              21.   Plaintiff’s injuries or damages, if any, were caused, in whole or

 in part, by persons other than Lowe’s.

                                EIGHTH DEFENSE

              22.   Plaintiff’s recovery, if any, should be reduced in accordance

 with section 663-31 of the Hawaii Revised Statutes.

                                 NINTH DEFENSE

              23.   Plaintiff’s claim for damages is barred by his failure to mitigate

 his damages.




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                                 TENTH DEFENSE

              24.   If Plaintiff sustained any injuries or incurred any damages, as

 alleged in the Complaint, such injuries or damages were caused by intervening

 and/or superseding causes beyond the control of Lowe’s.

                              ELEVENTH DEFENSE

              25.   Plaintiff’s claims are barred or limited by assumption of risk.

                               TWELFTH DEFENSE

              26.   Plaintiff’s causes of action are barred in whole or in part by

 Plaintiff’s contributory negligence.

                             THIRTEENTH DEFENSE

              27.   Plaintiff’s recovery, if any, should be reduced by Plaintiff’s

 comparative negligence.

                             FOURTEENTH DEFENSE

              28.   Lowe’s had no notice or knowledge of the condition alleged to

 have caused Plaintiff’s injuries and/or damages presented an unreasonable risk of

 harm.

                              FIFTEENTH DEFENSE

              29.   Any injuries and/or damages sustained by Plaintiff were not

 reasonably foreseeable by Lowe’s.




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                               SIXTEENTH DEFENSE

                30.   Any injuries and/or damages were the result of conditions that

 were open and obvious.

                             SEVENTEENTH DEFENSE

                31.   Plaintiff’s claims may be barred by the applicable statute of

 limitations.

                              EIGHTEENTH DEFENSE

                32.   Lowe’s did not act wantonly or oppressively or with such

 malice as to imply a spirit of mischief or criminal indifference to its civil

 obligations, and therefore, punitive damages may not be recovered against Lowe’s.

                              NINETEENTH DEFENSE

                33.   Plaintiff’s claims for exemplary and/or punitive damages are

 barred on the grounds that an award of exemplary and/or punitive damages violates

 the 5th, 8th and 14th Amendments of the U.S. Constitution and Article 1, Sections

 5 and 12 of the Constitution of the State of Hawaii by punishing, through vague

 and arbitrary standards, without limitations or sufficient notice, without sufficient

 procedural safeguards, and in denial of due process and equal protection of the law.




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                              TWENTIETH DEFENSE

              34.   Lowe’s intends to rely upon all other proper defenses available

 to it as set forth in Rule 8 and 12 of the Federal Rules of Civil Procedure and

 reserves the right to amend its Answer if appropriate.

              Lowe’s reserves the right to amend its Answer to assert other defenses

 as the case and discovery progresses.

              WHEREFORE, Lowe’s requests that:

              A.    The Complaint be dismissed with prejudice;

              B.    Lowe’s be awarded its costs and expenses, and

              C.    Lowe’s be awarded such other and further relief as this Court

              deems just and equitable.

              DATED: Honolulu, Hawaii, March 13, 2018.



                                      /s/ Lauren K. Chun
                                      EDMUND K. SAFFERY
                                      LAUREN K. CHUN

                                      Attorneys for Defendants
                                      LOWE’S HOME CENTERS, LLC
                                      and TYSON SACKS




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                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF HAWAII

  PAUL PETERS,                                    CIVIL NO. CV 18-00083 RLP-NONE
                          Plaintiff,              CERTIFICATE OF SERVICE
              vs.

  LOWE’S HOME CENTERS, LLC, a
  North Carolina limited liability
  company; TYSON SACKS; JOHN
  DOES 1-10; JANE DOES 1-10; DOE
  CORPORATIONS 1-10; DOE
  PARTNERSHIPS 1-10; and DOE
  ENTITIES 1-10,

                          Defendants.


                                CERTIFICATE OF SERVICE

                    The undersigned hereby certifies that a true and correct copy of the

  foregoing document has been duly served on the following parties through their

  respective attorneys at their last known addresses by U.S. Mail, postage prepaid,

  on the date stated below.

                    JAMES PATRICK BRUMBAUGH, ESQ.
                    James P. Brumbaugh, Inc.
                    120 Puanani Pl.
                    Kula, HI 96790

                    Attorney for Plaintiff
                    PAUL PETERS




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              DATED: Honolulu, Hawaii, March 13, 2018.


                                   /s/ Lauren K. Chun
                                   EDMUND K. SAFFERY
                                   LAUREN K. CHUN

                                   Attorneys for Defendants
                                   LOWE’S HOME CENTERS, LLC
                                   and TYSON SACKS




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